           Case 2:16-cr-00046-GMN-PAL Document 3327 Filed 09/04/18 Page 1 of 3



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6                               UNITED STATES DISTRICT COURT

7                                        DISTRICT OF NEVADA
8    UNITED STATES OF AMERICA,                      Case No.: 2:16-cr-00046-GWF-PAL
9
                   Plaintiff,
10                                                  SENTENCING MEMORANDUM
     vs.
11
     PETER SANTILLI,
12
                   Defendant
13

14                 PETER SANTILLI, by and through his counsel of record hereby submits the

15   following Sentencing Memorandum.
16

17
                   Dated this 4TH day of September, 2018.
18

19
                                                    /s/ Chris T. Rasmussen
20                                                  CHRIS T. RASMUSSEN, ESQ.
                                                    Nevada Bar No. 7149
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                                                    RASMUSSEN & KANG, LLC.
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28
     SENTENCING MEMORANDUM - 1
          Case 2:16-cr-00046-GMN-PAL Document 3327 Filed 09/04/18 Page 2 of 3



1                         MEMORANDUM OF POINTS AND AUTHORITIES
2
     Introduction
3
              Santilli has plead guilty to his role in interfering with BLM officers who were travelling
4
     from the desert on to a public highway during their cattle roundup. He was one of the first people
5

6    to enter into a plea agreement. Since his release on October 6, 2017, Santilli has be on supervision

7    in Cincinnati, Ohio.
8
     Conduct
9
              Santilli was covering the Bundy Ranch incident for his internet radio program and other
10
     entities interested in using his video and audio. Santilli traveled by automobile to Bunkerville,
11

12   Nevada with the intent of interviewing the Bundy family members and cover the government cattle

13   round up operation. Santilli noticed vehicles traveling out of the desert which caused him to travel
14
     to the area with his video camera. His actions blocked the pathway of government vehicles exiting
15
     the area. This conduct led Santilli to enter a plea of guilty.
16
     Character
17

18            Santilli is a disabled United States Marine who receives monthly Veterans Administration

19   benefits. He has zero criminal history points and has been on supervision since October 6, 2018.
20
     Future
21
              Santilli will continue providing commentary on daily news issues on his internet radio
22
     show entitled “The Pete Santilli Show”. Since this incident, and after serving 21 months in
23

24   custody, Santilli has learned to keep an arms-length distance from the issues he covers.   It is

25   worth noting, that there was not a single witness identified by the government that indicated that
26
     they travelled to Bundy Ranch because of listening to The Pete Santilli Show.
27
                                               CONCLUSION
28
     SENTENCING MEMORANDUM - 2
         Case 2:16-cr-00046-GMN-PAL Document 3327 Filed 09/04/18 Page 3 of 3



1         We respectfully request that Santilli be sentenced to time served.
2
                 Dated this 4th day of September, 2018.
3

4                                                   /s/ Chris T. Rasmussen
5                                                   CHRIS T. RASMUSSEN, ESQ.
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     SENTENCING MEMORANDUM - 3
